                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

IN THE MATTER OF:

STAYMOBILE VENTURE LLC,                                                       Chapter 7
                                                                              Case No. 22-43781-lsg
                                                                              Hon. Lisa S. Gretchko
                   Debtor.
                                                           /

                 TRUSTEE'S MOTION TO COMPROMISE
 AND SETTLE CLAIMS AGAINST BRIAN EISENBERG, KENNETH EISENBERG,
AND STEPHEN EISENBERG, KENWAL INVESTMENT GROUP, LLC, FRANK
JERNEYCIC, HONIGMAN LLP, ALAN SCHWARTZ, AND MATTHEW RADLER

         NOW COMES Timothy J. Miller, the Chapter 7 Trustee (“Trustee”) of the bankruptcy

estate of Staymobile Venture LLC, by and through his counsel OSIPOV BIGELMAN, P.C., to

compromise and settle claims against Brian Eisenberg, Kenneth Eisenberg, Stephen Eisenberg

(collectively, the “Eisenbergs”), Kenwal Investment Group, LLC (“KIG”, and collectively with

the Eisenbergs, the “Secured Creditors1”), Frank Jerneycic, Honigman LLP, Alan S. Schwartz,

and Matthew E. Radler (“Settling Parties”). and states as follows:

                                                   JURISDICTION

         1.        This Court has jurisdiction over compromises concerning property of the estate

pursuant to 28 U.S.C. § 157.

         2.        This matter constitutes a “core proceeding” under 28 U.S.C. § 157(b)(2).

         3.        The Trustee brings this Motion in accordance with Fed. R. Bankr. P. 9019.

                                             FACTUAL STATEMENT

         4.        Staymobile Venture, LLC (“Debtor”) filed a voluntary petition under Chapter 7 of


1
 “Secured Creditors” is a defined term for ease of reference only, not an acknowledgement that these persons are actually
secured creditors of the Bankruptcy Estate.



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the bankruptcy code on May 9, 2022 (the “Petition Date”).

       5.      The Trustee was appointed the Chapter 7 Trustee of Debtor’s bankruptcy estate (the

“Estate”).

                               Sale of Inventory and Equipment

       6.      Pursuant to an order of this court, Docket #190, the Trustee sold all of the Debtor’s

inventory, equipment and vehicles and obtained gross proceeds in the amount of $1,138,778.66.

       7.      The balance of the assets of the estate consists of accounts receivable which have

minimal value due to setoff defenses based on the 50,000 unserviced Chromebooks in the Debtor’s

warehouses as of the petition date.

       8.      The bankruptcy estate is currently administratively insolvent.

                                 Due Diligence by the Trustee

       9.      Since the outset of the case, the Trustee through his counsel has conducted a

massive investigation of the Eisenbergs, the management of the Debtor, and the professionals hired

by the Eisenbergs and the Debtor.

       10.     The Trustee has conducted both formal and informal discovery in order to flush out

the claims set forth herein.

       11.     This massive undertaking included, but was not limited to: a thorough review of

financials records of the Debtor, the communications of the Debtor’s officers, agreements that the

Debtor entered into, examinations of former officers of the Debtor, obtaining and reviewing

information from former officers of the Debtor, obtaining and reviewing over 7,000

communications between the Debtor, the Eisenbergs, and their counsel Honigman LLP, Honigman

LLP’s billing records, obtaining and reviewing over 30,000 communications between the

Eisenbergs and Frank Jerneycic, and discussing and obtaining information from creditors,




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professionals, and parties in interest.

          12.    During this due diligence period of approximately 18 months, the Trustee had

continuous settlement negotiations with the Settling Parties.

          13.    The Settlement presented for approval to the Court in this motion is by far the best

settlement that was negotiated and is a direct result of the due diligence of the Trustee in pursuing

this matter.

                                  Scheduled Claims of Eisenbergs

          14.    The Debtor in its Bankruptcy Schedule D at paragraphs 2.2-2.4 scheduled aggregate

secured claims totaling $2,500,000.00 in favor of the Eisenbergs. These claims arise from

purported loans to the Debtor and are memorialized by three separate promissory notes and a

security agreement. A U.C.C.-1 financing statement filed with the State of Michigan allegedly

perfected the Eisenbergs’ security interest.

          15.    The Eisenbergs’ purported secured claims constitute 99.5% of all scheduled

secured claims.

          16.    The Eisenbergs’ purported secured claims can be found at Proof of Claims #58, 59,

and 60.

          17.    The security interest of the Secured Parties would be limited to the net proceeds

from the asset sale.

          18.    In proof of claim #58, Brian Eisenberg also asserts an unsecured claim in the

amount of $4,621,521.02.

                                  Claims Asserted by the Trustee

          19.    The Trustee has asserted the following claims against the Settling Parties:

          A. A fraudulent transfer claim against KIG only as a result of a settlement agreement and
             release with former Chief Executive Officer of the Debtor Brian Hutto under Section




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        548 of the Bankruptcy Code and under MCL 566.31, et seq., through Section 544 of
        the Bankruptcy Code (“Hutto Claims”).

        Description: The Trustee asserts that this claim is based upon a transaction wherein
        the Debtor released its claims against Hutto for fraud, embezzlement, breach of
        restrictive convenants in his employment agreement, and other intentional torts, Hutto
        transferred his 12.5% interest in KIG to KIG, and the Debtor received nothing of value
        in exchange therefor. The transaction was memorialized by Honigman LLP who at the
        time was representing both KIG and the Debtor. KIG and Honigman LLP deny liability
        claiming that the Debtor received reasonably equivalent value in consideration therefor,
        in the form of a release from Hutto.

    B. Fraudulent transfer claims against Brian M. Eisenberg only under Section 548 and 549
       of the Bankruptcy Code and under MCL 566.31, et seq., through Section 544 of the
       Bankruptcy Code for his receipt of the following transfers (the “Transfers”):


                           A. January 2, 2020 -          $165,000.00
                           B. June 17, 2020 -            $500,000.00
                           C. June 31, 2020 -            $1,500,000.00
                           D. November 20, 2020 -        $100,000.00
                           E. November 20, 2020 -        $900,000.00
                           F. December 30, 2020 -        $500,000.00
                           G. December 30, 2020 -        $500,000.00
                           H. February 17, 2022 -        $250,000.00
                           I. May 6, 2022 -              $66,851.40
                           J. May 11, 2022-              $24,510.95

        Description: The Trustee asserts that these transfers are avoidable as they were made
        pre-petition while the Debtor was insolvent and the Debtor did not receive reasonably
        equivalent value in return and the final transfer was made post-petition without
        authorization. Brian Eisenberg denies liability claiming that these were loan
        repayments and that the Debtor was solvent at the time of the transfers.

    C. Fraudulent transfer claims under Section 548 of the Bankruptcy Code and under MCL
       566.31, et seq., through Section 544 of the Bankruptcy Code against Honigman LLP,
       KIG, Brian M. Eisenberg, Stephen A. Eisenberg, and Kenneth A. Eisenberg for funds
       paid by the Debtor to Honigman LLP for legal services provided to third parties for
       which the Trustee asserts reasonably equivalent value was not received by the Debtor;

        Description: The Trustee asserts that the Debtor did not receive reasonably equivalent
        value for payments made to Honigman LLP, as Honigman LLP invoiced the Debtor
        for work done for or for the benefit of the Secured Creditors; as opposed to the Debtor.
        Honigman LLP denies liability for the claims asserted.

    D. Avoidance of the purported security interest of Kenneth A. Eisenberg, Stephen A.




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              Eisenberg and Brian M. Eisenberg pursuant to Section 548 of the Bankruptcy Code and
              under MCL 566.31, et seq., through Section 544 of the Bankruptcy Code;

              Description. The Trustee asserts that the security interest is avoidable as the security
              agreement was signed and a financing statement was filed prior to Kenneth and Stephen
              Eisenberg funding their respective notes. The Trustee also challenged the security
              interest on the basis that the security agreement was defective. Kenneth A. Eisenberg,
              Stephen A. Eisenberg and Brian M. Eisenberg deny liability for the claims asserted
              arguing that the loans were “substantially contemporaneous”.

         E. Breach of Fiduciary Duty claims against KIG and Brian M. Eisenberg only regarding
            the Transfers. Brian M. Eisenberg and KIG deny liability with respect to these claims2;

         F. Breach of Fiduciary Duty claims against Honigman LLP, Alan S. Schwartz, and
            Matthew E. Radler regarding the Hutto Claims Honigman LLP, Alan S. Schwartz, and
            Matthew E. Radler deny liability with respect to these claims3;

         G. Breach of Fiduciary Duty (Aiding and Abetting) claims against Brian M. Eisenberg,
            Stephen A. Eisenberg, Kenneth A. Eisenberg, Frank Jerneycic, Honigman LLP, Alan
            S. Schwartz, and Matthew E. Radler regarding:

                 (1)     Causing the Debtor to sell the Cellairis Bundle, the Constant Connectivity
                         Warranty Program (“CCWP1”), and the Second Constant Connectivity
                         Program (“CCWP2”) at a loss;

                 (2)     Causing the Debtor to use the revenues from its sale of the CCWP1 and
                         CCWP2 warranties to service unfunded or underfunded warranty
                         obligations;

                 (3)     Causing the Debtor to fail to maintain any reserves to service future
                         warranty obligations;

                 (4)     Causing the Debtor to fail to fund premiums for CLIP; and

                 (5)     Causing the Debtor to engage in the fraudulent transfers described herein.

Brian M. Eisenberg, Stephen A. Eisenberg, Kenneth A. Eisenberg, Frank Jerneycic, Honigman
LLP, Alan S. Schwartz, and Matthew E. Radler deny liability for these claims.

         H.      Legal Malpractice against Honigman LLP, Alan S. Schwartz, and Matthew E.
                 Radler;




2
    The description of these claims is contained in paragraph 19(B).
3
    The description of these claims is contained in paragraph 19(A).


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                   Description: The Trustee assert this malpractice claim based on the transactions
                   described herein. Honigman LLP, Alan S. Schwartz, and Matthew E. Radler deny
                   liability for these claims.

           20.     As stated above, the Settling Parties have asserted defenses to each of these claims

and have denied any liability therefor. The Settling Parties have advised the Trustee that if an

action were filed against the Settling Parties on these claims, they would vigorously defend such

litigation. The Settling Parties have engaged highly qualified counsel to represent their interests

whom this Court is familiar with.

           21.     Following a thorough review of the claims as described herein, the Trustee and the

Secured Creditors have entered into a Settlement Agreement (the “Settlement Agreement”, a copy

of which is attached hereto as Exhibit 6-A), subject to approval of the Bankruptcy Court, to resolve

all claims against the Settling Parties. There are risks associated with this release and the Trustee

has considered the risks and has made a sound business judgment that those risks are outweighed

by the substantial benefits to be conferred to the Estate in the event the Settlement Agreement is

approved.

           22.     The Settlement Agreement, among other things, provides for the following (to the

extent of any inconsistency between the terms and conditions of Settlement Agreement and the

description of the Settlement Agreement below, the Settlement Agreement shall control):

                   A.       The Secured claims asserted by Brian Eisenberg
                            ($1,500,000.00)4, Kenneth Eisenberg ($500,000.00), and
                            Stephen Eisenberg ($500,000.00), Proof of Claims #58-60,
                            are avoided by the Estate pursuant to Sections 544, 547, and
                            548 of the Code and preserved for the benefit of the Estate
                            pursuant to Section 551;

                   B.       The Secured Creditors will withdraw, will not assert, and
                            waive all other claims against the Estate;

                   C.       The Secured Creditors, collectively, shall pay the Estate

4
    Along with Brian Eisenberg’s unsecured claim of $4,621,521.02.



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                       $750,000.00 within 7 days of the Effective Date as defined
                       in the settlement agreement; and

               D.      A bar of litigation of re-litigation of the claims as described
                       in the settlement agreement, to wit:

               Bar of Litigation of Claims: The entry of this Order constitutes the
               Bankruptcy Court’s approval of the compromise and settlement of
               all claims, actions, causes of action, and controversies against the
               Settling Parties as set forth in the Settlement Agreement, as well as
               a finding by the Bankruptcy Court that such compromise and
               settlement is in the best interests of the Debtor and its Bankruptcy
               Estate, and is fair, equitable, and reasonable. For good and valuable
               consideration, all creditors of the Debtor who are served with notice
               of the Trustee’s 9019 Motion (seeking approval of this Settlement
               Agreement) are hereby permanently BARRED, ENJOINED and
               RESTRAINED from (i) commencing, continuing, prosecuting, or
               asserting, in any manner, any action or proceeding of any kind in
               respect of the Claims against the Settling Parties, whether arising as
               claims, cross-claims, counterclaims, or third-party claims, in any
               federal or state court, or in any other court, arbitration proceeding,
               administrative agency, or other forum in the United States or
               elsewhere and (ii) enforcing, attaching, collecting or recovering by
               any manner or means any judgment, award, decree or other order
               against any of the Settling Parties relating to or arising from the
               Claims, (collectively, the “Barred Claims”). Such injunction with
               respect to the Barred Claims shall extend to any successor, assign,
               heir, beneficiary, executor, and representative of or to the Settling
               Parties.


       23.     This is a very limited “Bar of Litigation of Claims” as it is (a) limited to the defined

Claims that the Trustee could have brought, which were assets of the Debtor’s estate, and (b)

limited in scope to only creditors of the Debtor and, more specifically, only those creditors who

receive service of the notice of thsi motion. All creditors and parties in interest in this bankruptcy

case have been served with notice of this motion.

       24.     The Trustee is unaware of any third party asserting any claims against some or all

of the Settling Parties except for one creditor, Bluum USA, Inc. (“Bluum”).

       25.     The Trustee is unaware of what claims Bluum may assert against some or all of the




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Settling Parties as Bluum has refused to share its draft complaint with the Trustee despite repeated

requests.

        26.     This Settlement Agreement is in the best interest of creditors for the following

reasons:

                A.      It will make the Estate solvent and ensure a distribution to creditors;

                B.      It will eliminate 99.5% of all scheduled secured claims;

                C.      It will eliminate an unsecured claim in the amount of $4,621,521.02;

                D.      It brings in to the estate approximately $1,888,778.66 for distribution to
                        creditors;

                E.      It eliminates litigation risk and costs of litigation, which would be expected
                        to be extremely costly at the expense of the creditors.

        27.     The Trustee in his business judgment submits that the Settlement Agreement is in

the best interest of the Estate.

                                   Legal Basis for Relief Requested

        28.     It is generally held that a bankruptcy court may approve a settlement if it is fair and

equitable, and in the estate’s best interest. Reynolds v. C.I.R., 861 F.2d 469, 473 (Sixth Cir., 1988);

In Re American Reserve Corp., 849 F.2d 159, 161 (Seventh Cir., 1987).

        29.     Four factors are relevant to the bankruptcy court’s review of a proposed

compromise:

                A.      The probability of success in the litigation;

                B.      The difficulties, if any, to be encountered in the matter of collection;

                C.      The complexity of the litigation involved, the expense, inconvenience, and
                        delay necessarily attending it; and

                D.      The paramount interest of the creditors and a proper deference to their
                        reasonable views in the premises.
In Re Jackson Brewing Co., 624 F.2d 605, 607 (Fifth Cir., 1980); In Re American Reserve Corp.,
841 F.2d 161; In Re Woodson, 839 F.2d 610, 620 (Ninth Cir., 1998).



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Trustee, in recommending that this Court approve the Agreement, has given due weight to the four

(4) criteria set forth in In re Jackson Brewing Co. and believes the Agreement is fair and equitable

and in the best interest of the Estate. Among other things, the Trustee has considered the potential

continued cost and expense of litigation regarding the merits of the Secured Creditors’ claims, the

payment being made by the Secured Creditors, and the fact that this will ensure a distribution to

creditors. These factors weigh heavily in favor of the proposed compromise and approval of the

Settlement Agreement.

                   Applicable Law Regarding “Bar of Litigation of Claims”

       30.     The Sixth Circuit has long recognized that a Bankruptcy Court has statutory

authority to impose a bar order as part of a settlement between the Estate and one or more

defendants. In re Dow Corning Corp., 280 F.3d 648 (6th Cir. 2002) (Section 105 grants Court

broad authority to enter orders that are necessary or appropriate to carry out provisions of Code,

and Section 524(e) “does not prohibit the release of a non-debtor”); In re City of Detroit, 524 BR

147 (Bankr. E.D. Mi. 2014) (Section 524 does not preclude third party releases, citing Dow

Corning).

       31.     In addition, the Bankruptcy Court may impose such a bar order affecting non-debtor

third-parties where the Bankruptcy Court has jurisdiction under Title 28 U.S.C. § 1334. “Related-

to” jurisdiction exists under Section 1334 where the subject of a third-party dispute is property of

the estate. See, e.g. Feld v. Zale Corporation, 62 F.3d 746, 753 (5th Cir.1995). See also, Michigan

Employment Sec. Comm’n v. Wolverine Radio Co. (Inre Wolverine Radio Co.), 930 F.2d 1132,

1143 (6th Cir. 1991). This Court has related-to jurisdiction to enter the requested bar order because,

as more fully described below, the subject of the bar order (i.e. the Claims, comprising pre- and

post-petition claims of the Debtor) are property of the estate. See 11 U.S.C. §541(a)(1).The Court




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in Dow Corning outlined factors to be considered in evaluating proposed bar orders. These factors

may be tailored to the needs of the case and the proponent of the bar order is not required to satisfy

all seven Dow factors. In re City of Detroit, 524 BR 147 (Bankr. E.D. Mi. 2014) citing National

Heritage Foundation, Inc. v. Highbourne Found, 2014 WL 2900933 (4th Cir. 2014).

           a. Identity of Interest Between Debtor and Third Parties: The parties to be released
              consist of creditors who received allegedly fraudulent transfers, plus various
              individuals and law firms who managed or provided legal assistance to Debtor
              before commencement of this case. Each of the defendants potentially has claims
              against Debtor for indemnification or contribution. These potential claims are
              sufficient to establish the identity of interest needed to support a bar order.

           b. The defendants are contributing substantial assets to the case: The defendants will
              contribute $750,000.00 to the Estate in addition to releasing its claim on the
              proceeds from the sale totaling $1,138,778.66. Further, the Secured Creditors will
              relinquish secured claims totaling $2.5 million (more than 99% of all scheduled
              secured claims and will withdraw and waive all other claims against the Estate
              including unsecured claims aggregating in excess of $4.6 million. The settlement
              funds in conjunction with the released claims will significantly enhance the
              distribution to unsecured creditors.

           c. The injunction is essential to reorganization: This factor does not apply as this Case
              is a liquidation under Chapter 7. Bar orders are available in Chapter 7 as well as
              liquidating Chapter 11 cases – it is not necessary that Debtor intend to continue in
              business or even be in business for the Court to approve a bar order. Further, the
              bar order is of limited effect, barring only the Claims (as defined in the Settlement
              Agreement) arising in or related to Debtor’s Bankruptcy Estate. The bar order does
              not preclude any third party from bringing an action against any of the Settling
              defendants arising out any other transaction or occurrence. See In re Equine Oxygen
              Therapy Resources, Inc., 2015 WL 1331540 (Bankr. E.D. Ky. 2015) (Chapter 7
              Trustee’s Motion to Approve Settlement that contained bar order approved –
              settlement was fair and equitable; Proceeds paid into the estate were fair and
              reasonable compromise for claims being released; payment of funds to the Trustee
              did not prejudice estate or other claimants; and bar was limited to claims arising
              out of specified transactions and did not materially affect interest of any party for
              an unrelated loss); In re Exide Holdings, Inc., 2021 WL 3145612 (D. Del. 2021)
              (settlement including bar order appropriate in liquidating Chapter 11): In re
              Weinstein Company Holdings, 2021 WL 979603 (D. Del. 2021) (bar order
              approved in settlement in liquidating Chapter 11 –Debtor had been out of business
              for years, plan did not preserve or protect Debtor; settlement did not preserve any
              jobs; and liquidation was functional equivalent of Chapter 7 did not preclude entry
              of bar order). In this case, the Settlement produces substantial additional funds plus
              additional relief resulting from the waiver or withdrawal of claims that will enhance




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                the ultimate distribution to creditors while eliminating the risk, expenses and
                uncertainty of continue litigation.

             d. Impacted creditors have voted in favor of the Plan: The settlement has been noticed
                to all parties and Debtor anticipates little, if any, opposition to the settlement in
                general or the bar order specifically. Debtor anticipates that the vast majority of
                creditors will “accept” the proposed terms by not objecting to the terms.

             e. The Plan proposes to pay claims of those impacted: Each creditor will receive its
                share of the Debtor’s estate (enhanced by the value received under the settlement)
                to be distributed by the Trustee.

             f. The Plan provides an opportunity for objecting creditors to recover: This factor is
                not applicable. Debtor is out of business and there is no opportunity for further
                recovery.

             g. The Cout makes sufficient factual findings to support the Settlement including the
                bar order: The terms of the settlement and history of this matter are described in
                this Motion and provide the Court with a factual background to find the Settlement
                meets the standards for approval under Rule 9019 and that the Estate will be
                substantially enhanced to the benefit of all creditors.

       32.      The Trustee has provided notice to creditors of the proposed compromise of the

claim in accordance with L.B.R. 9014-1 (E.D.M.).

       WHEREFORE, the Trustee respectfully requests this Court grant this Motion; approve

the terms of the Settlement Agreement and authorize the Trustee to enter into the Settlement

Agreement on behalf of the Estate as more fully set forth in Exhibit 1.

                                                       Respectively Submitted,

DATED: January 26, 2024                                OSIPOV BIGELMAN, P.C.

                                                       /s/ Jeffrey H. Bigelman
                                                       Jeffrey H. Bigelman (P61755)
                                                       Attorneys for Chapter 7 Trustee
                                                       20700 Civic Center Dr Suite 420
                                                       Southfield, MI 48076
                                                       (248) 663-1800
                                                       jhb@osbig.com




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                                                    EXHIBIT 1

                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

IN THE MATTER OF:

STAYMOBILE VENTURE LLC,                                                  Chapter 7
                                                                         Case No. 22-43781-lsg
                                                                         Hon. Lisa S. Gretchko
                    Debtor.
                                                        /

                         ORDER GRANTING
                 TRUSTEE'S MOTION TO COMPROMISE
 AND SETTLE CLAIMS AGAINST BRIAN EISENBERG, KENNETH EISENBERG,
AND STEPHEN EISENBERG, KENWAL INVESTMENT GROUP, LLC, FRANK
JERNEYCIC, HONIGMAN, LLP, ALAN SCHWARTZ, AND MATTHEW RADLER


           THIS MATTER having come before the Court on the Trustee’s Motion to Compromise

and Settle Claims Against Brian Eisenberg, Kenneth Eisenberg, Stephen Eisenberg (collectively,

the “Eisenbergs”), Kenwal Investment Group, LLC (“KIG”, and collectively with the Eisenbergs,

the “Secured Creditors ”), Frank Jerneycic, Honigman, LLP, Alan S. Schwartz, and Matthew E.

Radler (“Settling Parties”) [Docket No. ___] (the “Motion”); due and appropriate notice having

been provided pursuant to Bankruptcy Rules; and the Court being duly advised in the premises

and finding good cause for the entry of the Order:5

           IT IS HEREBY ORDERED that Trustee’s Motion is granted.

           IT IS FURTHER ORDERED that the Trustee is authorized to enter into, perform in

accordance with, comply with, and enforce the Settlement Agreement attached to the Motion as

Exhibit 6-A on behalf of the Estate. To the extent of any inconsistency in the description of the

settlement as contained in the Motion, the notice of the Motion, and/or the Settlement Agreement,


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    Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.



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the Settlement Agreement controls.

       IT IS FURTHER ORDERED that the Settlement Agreement and this Order fully and

finally resolves all claims of the Trustee and the Bankruptcy Estate against the Settling Parties.

       IT IS FURTHER ORDERED that the claims asserted by Brian Eisenberg, Kenneth

Eisenberg, and Stephen Eisenberg, including, but not limited to Proof of Claim #58-60 are avoided

by the Estate pursuant to Section 544, 547, and 548 of the Code and preserved for the benefit of

the Estate pursuant to Section 551 of the Code.

       IT IS FURTHER ORDERED that the Settling Parties shall pay $750,000.00 to the

Bankruptcy Estate within 7 days of this order becoming a final, non-appealable order.

       IT IS FURTHER ORDERED that the Bankruptcy Court shall retain exclusive

jurisdiction to resolve any disputes related to the Settlement Agreement and this Order.




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                                                   EXHIBIT 2

                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

IN THE MATTER OF:

STAYMOBILE VENTURE LLC,                                              Chapter 7
                                                                     Case No. 22-43781-lsg
                                                                     Hon. Lisa S. Gretchko
                   Debtor.
                                                       /

                          NOTICE OF TRUSTEE'S
                    TRUSTEE'S MOTION TO COMPROMISE
     AND SETTLE CLAIMS AGAINST BRIAN EISENBERG, KENNETH EISENBERG,
      AND STEPHEN EISENBERG, KENWAL INVESTMENT GROUP, LLC, FRANK
     JERNEYCIC, HONIGMAN, LLP, ALAN SCHWARTZ, AND MATTHEW RADLER

           TO:     ALL CREDITORS AND PARTIES IN INTEREST

        Timothy J. Miller, Trustee has filed papers with the Court entitled Trustee's Motion to
Compromise and Settle Claims against Brian Eisenberg, Kenneth Eisenberg, Stephen Eisenberg
(collectively, the “Eisenbergs”), Kenwal Investment Group, LLC (“KIG”, and collectively with
the Eisenbergs, the “Secured Creditors ”), Frank Jerneycic, Honigman, LLP, Alan S. Schwartz,
and Matthew E. Radler (“Settling Parties”). The proposed settlement would provide for the
following:

                   A.       The Secured claims asserted by Brian Eisenberg
                            ($1,500,000.00)6, Kenneth Eisenberg ($500,000.00), and
                            Stephen Eisenberg ($500,000.00), Proof of Claims #58-60,
                            are avoided by the Estate pursuant to Sections 544, 547, and
                            548 of the Code and preserved for the benefit of the Estate
                            pursuant to Section 551;

                   B.       The Secured Creditors will withdraw, will not assert, and
                            waive all other claims against the Estate;

                   C.       The Secured Creditors, collectively, shall pay the Estate
                            $750,000.00 within 7 days of the Effective Date as defined
                            in the settlement agreement; and

                   D.       A bar of litigation of re-litigation of the claims as described


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    Along with Brian Eisenberg’s unsecured claim of $4,621,521.02.



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                            in the settlement agreement, which is available upon request.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult one.)

        If you do not want the court to grant the relief sought in the motion or objection, or if you
want the court to consider your views on the motion or objection, within twenty-one (21) days of
the date of this notice, you or your attorney must:

1. File with the court a written response or an answer7, explaining your position at:

                                   United States Bankruptcy Court
                                   211 West Fort Street, Suite 2100
                                       Detroit, Michigan 48226
       If you mail your response to the court for the filing, you must mail it early enough so the court
       will receive it on or before the date stated above. All attorneys are required to file pleadings
       electronically.

       You must also send a copy to:

              Jeffrey H. Bigelman, Esq.                        Office of the U.S. Trustee
              OSIPOV BIGELMAN, P.C.                            211 W. Fort Street, Suite 700
              20700 Civic Center Drive, Suite 420              Detroit, Michigan 48226
              Southfield, MI 48076

2. If a response or answer is timely filed and served, the clerk will schedule a hearing on the
   matter, and you will be served with a notice of the date, time and location of the hearing.

       If you or your attorney do not take these steps, the court may decide that you do
not oppose the relief sought and may enter an order granting that relief.

                                                         Respectfully submitted,

                                                         OSIPOV BIGELMAN, P.C.

    Dated: January 26, 2024                              /s/ Jeffrey H. Bigelman
                                                         JEFFREY H. BIGELMAN (P61755)
                                                         Attorneys for Timothy J. Miller, Trustee
                                                         20700 Civic Center Drive, Suite 420
                                                         Southfield, MI 48076
                                                         Tel: 248.663.1800 / Fax: 248.663.1801
                                                         jhb@osbig.com



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    Response or answer must comply with F. R. Civ. P. 8(b), (c) and (e)



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                                            EXHIBIT 4

                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
IN THE MATTER OF:

STAYMOBILE VENTURE LLC                                         Chapter 7
                                                               Case No. 22-43781-lsg
                                                               Hon. Lisa S. Gretchko
               Debtor(s)
                                               /

                                 CERTIFICATE OF SERVICE

Re:    Trustee’s Motion for Order Authorizing Trustee to Compromise and Settle Claims Against
       Brian Eisenberg, Kenneth Eisenberg, Stephen Eisenberg, Kenwal Investment Group, LLC,
       Frank Jerneycic, Honigman, LLP, Alan S. Schwartz, and Matthew E. Radler, Exhibit 1 –
       Proposed Order, Exhibit 2 – Notice of Motion, and Exhibit 3 – N/A, Exhibit 4 – Certificate
       of Service, Exhibit 5 – N/A, and Exhibit 6-A – Settlement Agreement

I hereby certify that on January 26, 2024, I filed the foregoing paper(s) with the Clerk of the Court
using the Electronic Case Files system which will send electronic notification of such filing to the
United States Trustee, Debtor, and any additional parties that requested electronic service of
documents filed in this case.

I also certify that on January 26, 2024, I served a copy of Exhibit 2 – Notice of Motion via First
Class Mail, with sufficient prepaid postage, to the debtor, the trustee, all indenture trustees,
creditors that hold claims for which proofs of claim have been filed and creditors that may still file
timely claims, pursuant to Local Bankruptcy Rule 2002-2.

                                                   Respectfully submitted,

                                                   OSIPOV BIGELMAN, P.C.

 Dated: January 26, 2024                           /s/ Jeffrey H. Bigelman
                                                   JEFFREY H. BIGELMAN (P61755)
                                                   Attorneys for Timothy J. Miller, Trustee
                                                   20700 Civic Center Drive, Suite 420
                                                   Southfield, MI 48076
                                                   Tel: 248.663.1800 / Fax: 248.663.1801
                                                   jhb@osbig.com




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                         EXHIBIT 6-A




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